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November 18, 2019                                                                                       School of the Arts
                                                                                                        Office of the Dean
                                                                                                        Pollak Building, Room 201
Mr. Javier Tapia                                                                                        325 North Harrison Street
1210 Essex Avenue                                                                                       P.O. Box 842519
Richmond, Virginia 23229-6514                                                                           Richmond, Virginia 23284--2519
                                                                                                        804 828-2787
Dear Mr. Tapia:
                                                                                                        arts.vcu.edu

Please be advised that effective immediately you are being placed on a paid administrative
leave, pending a review of matters that have been brought to the attention of the School of the         	
Arts. During this review, you are expected to fully cooperate in this process. While on
administrative leave, you are not to perform any work associated with your faculty position at
Virginia Commonwealth University.

While on administrative leave, you are to have no contact of any kind with any VCU faculty,
staff, or students. Contact includes in-person contact, telephone calls, text messages, emails,
Facebook, Twitter, or other forms of messaging or social media contacts. If you or someone
acting on your behalf initiates any contact with any VCU or VCU faculty, staff, or students in
violation of this directive, you may be subject to additional administrative action by the university
administration.

In addition, you are not permitted on university property or in any of its buildings or facilities.
Your computer access will be deactivated for the duration of your leave. Should you need to visit
the campus for any reason, it must be authorized in advance by me.

By the end of the work day tomorrow, please deliver your university issued keys, VCU ID and
any other university property such as a laptop to the Dean’s Office. If you need personal items
from your office, you will be given a few minutes to collect them prior to your departure or you
may contact me to arrange to pick them up in the next few days.

Also, please email me your current non-VCU email address and telephone number(s) where you
can be reached during the day while on leave. You are responsible for checking the email
address you provide at least daily for correspondence from the university.

Please understand this letter and your administrative leave status are not disciplinary in nature;
however, should you take any action in conflict with the terms of this paid administrative leave
including the communication restrictions, your leave status may be changed to leave without pay
and you may be subject to formal disciplinary action, up to and including termination from
employment.

If you have any questions about your leave status or other employment-related matters as the
review continues, you can contact me at brixey@vcu.edu.

Respectfully,




                                                                                                         an equal opportunity/affirmative action university

Shawn Brixey
Dean, VCU School of the Arts
Special Assistant to the Provost for the School of the Arts in Qatar
